Case 8:16-cv-00644-SDM-JSS Document 93 Filed 11/17/17 Page 1 of 4 PageID 1071




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

    MEDICAL & CHIROPRACTIC
    CLINIC, INC.,

          Plaintiff,

    v.                                                    CASE NO. 8:16-cv-644-T-23JSS

    KMH CARDIOLOGY
    CENTRES INCORPORATED, et al.,

          Defendants.
    ____________________________________/


                                           ORDER

          In this TCPA class action, the defendants allegedly sent a total of 5,596

    unsolicited faxes to 1,805 recipients in Florida. According to the plaintiff, each fax

    lacks an “opt-out” notice required by TCPA regulations. A June 26, 2017 order

    (Doc. 84) conditionally certifies a settlement-only class that comprises:

              All persons or entities who were successfully sent one or more
              of the following facsimiles sent by or on behalf of Defendants:
              (1) a facsimile on or about February 10, 2016, offering “3D
              MAMMOGRAPHY”; (2) a facsimile on or about February 11,
              2016, stating “Call today to schedule your CT Cardiac Scan”;
              (3) a facsimile on or about March 4, 2016, stating “Call today
              to schedule your patients MRI”; and (4) a facsimile on or about
              March 16, 2016, stating “WestCoast Radiology now offers the
              following biopsies at all of our locations.”

    (Doc. 81 at 2, the report and recommendation adopted by the June 26 order) The

    June 26 order preliminarily approves a $1,350,000 settlement and directs the parties

    to notify the class about the settlement. The plaintiff submits a memorandum
Case 8:16-cv-00644-SDM-JSS Document 93 Filed 11/17/17 Page 2 of 4 PageID 1072




    (Doc. 89) in support of final approval and requests an attorney’s fee of $450,000. At

    the November 17, 2017 fairness hearing, no class member objected to the settlement.

                                          DISCUSSION

           A class settlement commends approval if fair, adequate, and reasonable.

    Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984) (identifying the six factors

    relevant to a settlement’s fairness, adequacy, and reasonableness). Also, the

    settlement must not result from collusion between the defendant and the class

    counsel or the class representative. Bennett, 737 F.2d at 986. James Murphy, an

    experienced mediator certified in the Middle District of Florida, mediated the

    dispute, and the record reveals no collusion between the parties.

           The application of Bennett shows a fair, adequate, and reasonable settlement.

    Denying a TCPA violation, the defendants assert that an established relation with

    each recipient permitted the defendants to lawfully send each fax. If the TCPA claim

    survived a motion for summary judgment, a trial likely would require presenting

    several thousand documents about the defendants’ relation with the recipients. If the

    plaintiff succeeded at trial, the inevitable appeal would prolong the resolution of this

    action until at least 2019. Under the settlement, each class member who submits a

    claim receives between $241.24 and the statutory maximum of $500 per violation.1

    The settlement achieves a commendable result for the class but avoids protracted

    litigation. No class member objects to the settlement, and one of the 1,805 class

           1
             The per-capita recovery likely depends on the number of class members who submit a
    claim. The memorandum in support of final approval fails to identify the number of claimants.

                                                   -2-
Case 8:16-cv-00644-SDM-JSS Document 93 Filed 11/17/17 Page 3 of 4 PageID 1073




    members opts out of the class.2 Finally, class counsel’s opinion (informed by

    discovery in this action and by experience litigating TCPA class actions) favors

    approval. Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977) (“[T]he trial judge,

    absent fraud, collusion, or the like, should be hesitant to substitute its own judgment

    for that of counsel.”).

           Class counsel requests an award of $450,000, which equals 33.33% of the

    settlement. Camden I Condo. Ass’n v. Dunkle, 946 F.2d 768 (11th Cir. 1991), suggests a

    “benchmark” award for class counsel of 25% in a “common-fund” settlement.

    Departure from the 25% benchmark depends on the application of the Johnson

    factors, the “time required to reach a settlement,” the opposition to the settlement,

    and the “economics involved in prosecuting a class action.” Camden I, 946 F.2d

    at 775 (citing Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714 (5th Cir. 1974)).

    Although the memorandum in support of the attorney’s fee discusses Johnson, class

    counsel submits no evidence to substantiate the argument in the memorandum. For

    example, class counsel submits no billing record or affidavit to show the time

    reasonably expended litigating this action. Also, several Johnson and Camden factors

    counsel against an award greater than the 25% benchmark. Class counsel’s “work

    product” warrants no deviation from the typical award.3 And the action resolved


           2
             Raveling Chiropractic Center P.A. in Dunedin, Florida. (Doc. 89-3) The dismissal with
    prejudice of this action is inapplicable to Raveling.
           3
             Replete with conclusory assertions but lacking in helpful details (for example, the number
    of claimants), the memorandum in support of final approval exemplifies the quality of class
    counsel’s “work product” in this action.

                                                    -3-
Case 8:16-cv-00644-SDM-JSS Document 93 Filed 11/17/17 Page 4 of 4 PageID 1074




    relatively quickly; fourteen months elapsed between the complaint and the

    settlement.

          Conversely, several Johnson and Camden factors favor a larger-than-normal

    attorney’s fee. After accepting the action on contingency, class counsel secured a

    commendable result for the class, which result explains the absence of opposition. In

    this circumstance, an award of 30% (or $405,000) appropriately compensates class

    counsel. See Camden, 946 F.2d at 774 (observing that “the majority of common fund

    fee awards fall between 20% to 30% of the fund”). Finally, the requests for a $15,000

    award for the class representative, for $5,380 to compensate the class administrator,

    and for $38,473.84 in expenses warrant approval.

                                       CONCLUSION

          The settlement is APPROVED, and the action is DISMISSED WITH

    PREJUDICE. Also, an attorney’s fee of $405,000 is APPROVED. Additionally,

    the unopposed motion (Doc. 91) to dismiss the claims against “John Does 1–10” is

    GRANTED, and the claims against the unknown defendants are DISMISSED.

    Jurisdiction is retained until November 17, 2018, to ensure the implementation of the

    settlement. The clerk is directed to close the case.

          ORDERED in Tampa, Florida, on November 17, 2017.




                                              -4-
